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 8                        IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,               ) 2:14-MJ-00213-EFB
                                             )
12               Plaintiff,                  )
                                             ) STIPULATION AND ORDER
13         v.                                ) CONTINUING PRELIMINARY HEARING
                                             ) DATE
14   ELENA GUTIERREZ,                        )
                                             )
15                                           ) Judge: Hon. Edmund F. Brennan
                 Defendant.                  )
16                                           )
                                             )
17

18                                      STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendant, by and through his counsel of record, hereby stipulate

21   as follows:

22      1. By prior order, this matter was set for a Preliminary Hearing on

23         November 6, 2014.

24      2. By this Stipulation, the parties now move to continue the

25         Preliminary Hearing until December 5, 2014, at 2:00 p.m.

26      3. The defendant made her initial appearance on October 23, 2014,

27         and preliminary hearing was scheduled for November 6, 2014.

28   ///


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 1      4. The defendant is presently in custody at the Sacramento County

 2         Jail.

 3      5. The parties need further time to discuss this matter, discuss

 4         any potential consequences, and to allow counsel for the

 5         defendant reasonable time necessary for preparation and further

 6         investigation.

 7            a. Given the nature of the allegations in the complaint, the

 8                 severity of the applicable statutory penalties, and the

 9                 nature and circumstances of the defendant, the research and

10                 investigation related to this case has required a

11                 substantial expenditure of time and energy by the parties.

12      6. Defendant understands that pursuant to 18 U.S.C. § 3161(b), “any

13         information or indictment charging an individual with the

14         commission of an offense shall be filed within thirty days from

15         the date on which such individual was arrested.”          Time may be

16         excluded under the Speedy Trial Act if the Court finds that the

17         ends of justice served by granting such a continuance outweigh

18         the best interests of the public and the defendant in a speedy

19         trial.    18 U.S.C. § 3161(h)(7)(A).     The parties jointly move to

20         exclude time within which any indictment or information shall be

21         filed from November 6, 2014, through and including December 5,

22         2014, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), because failure

23         to do so would “deny counsel for the defendant . . . the

24         reasonable time necessary for effective preparation, taking into

25         account the exercise of due diligence.”

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28   ///


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 1      7. Good cause exists under Rule 5.1(d) of the Federal Rules of

 2         Criminal Procedure.

 3   IT IS SO STIPULATED.

 4

 5   DATED: November 5, 2014              /s/ Justin L. Lee   _
                                        JUSTIN L. LEE
 6                                      Assistant U.S. Attorney
 7   DATED: November 5, 2014              /s/ Matthew M. Scoble     _
                                        MATTHEW M. SCOBLE
 8                                      Attorney for Elena Gutierrez
                                        (as authorized on November 4, 2014)
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10
                                           ORDER
11
           IT IS SO FOUND AND ORDERED, this 6th day of November, 2014.
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14                                        _________________   ______
                                        Hon. EDMUND F. BRENNAN
15
                                        United States Magistrate Judge
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